              Case 1:17-sw-00321-MSN Document 1 Filed 06/15/17 Page 1 of 5 PageID# 1
AO 108(Rev. 06/09) Application for a Warrant to Seize Property Subjectto Forfeiture



                                       United States District Cour                                                               L
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                                                                                                                                                1.      ;
                                                                          for the

                                                          Eastern District of Virginia                                     • 1                  l' i.
                                                                                                                                 1 5 201?       i::.'
                 In the Matter of the Seizure of                                                                   CLERK. U.S. DISTRICT COUhl
            (Briefly describe the property to be seized)
          All Funds In Bank of America Account Nos.                                     Case No. 1:17sw321
4350-3829-1171 and 4350-3829-1184, held in the names of
              Allen Arojuraye and Thompson Arojuraye


                                                    APPLICATION FOR A WARRANT
                                        TO SEIZE PROPERTY SUBJECT TO FORFEITURE


        I, a federal law enforcement officer or attorney for the government, request a seizure warrant and state under
penalty of perjury that I have reason to believe that the following property in the      Eastern     District of
               Virginia              is subjectto forfeiture to the United Statesof America under                     18         U.S.C. §
        981          (describe the property)'.


All Funds In Bank of America Account Nos. 4350-3829-1171 and 4350-3829-1184, held in the names of Allen Arojuraye
and Thompson Arojuraye




          The application is based on these facts:

SEE ATTACHED AFFIDAVIT




          •    Continued on the attached sheet.



                                                                                                       Applicant's signature 0         C
 Reviewed by AUSA/SAUSA:
                                                                                             Michelle J. Fedyszen, FBI Special Agnet
      AUSA Karen L Taylor                                                                              Printed name and title




Sworn to before me and signed in my presence.

                                                                                                            /s/
                                                                                            Michael 8. Nachmanoff
Date:     06/15/17 3:45pm                                                                   United States Magistrate Judge
                                                                                                         Judge's signature

                                                                                      Michael S. Nachmanoff, United States Magistrate Judge
City and state: Alexandria, Virginia
                                                                                                       Printed name and title
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                                                                                                                  !
                            UNITED STATES DISTRICT COURT                     !       v.* .   ! 152017 Cl/
                                                                                                      j               !I



                       FOR THE EASTERN DISTRICT OF VIRGINI/                      CLFRK ! !R   n(?;TRirfrrii^:5r
                                                                         j         AS.£X-i'i''-l'- VfVCVyr
                                  ALEXANDRIA DIVISION


IN THE MATTER OF THE SEIZURE OF    )
ALL FUNDS IN THE BELOW ACCOUNTS:   )                        CASE NO. 1:17-SW-321
                                   )
BANK OF AMERICA ACCOUNT NOS.       )
4350-3829-1171 AND 4350-3829-1184, )
HELD IN THE NAMES OF ALLEN         )
AROJURAYE AND THOMPSON AROJURAYE )

                   AFFIDAVIT IN SUPPORT OF SEIZURE WARRANT

       I, Michelle L. Fedyszen, being duly sworn, hereby depose and state as follows:

       1.      I am a Special Agent employed by the Federal Bureau of Investigation (FBI). I

have been so employed since 2001. Currently I am assigned to the Asset Forfeiture Squad in the

FBI's Washington Field Division. My assignments include investigating the asset forfeiture

aspects of suspected violations that include, but are not limited to, mail fraud (Title 18, United

States Code, Section 1341), wire fraud (Title 18, United States Code, Section 1343), and money

laundering (Title 18, United States Code, Sections 1956 and 1957). In addition to the law

enforcement training I have received in these matters and general criminal investigations, I have

also attended the Money Laundering conference.

       2.      I have been assigned to assist in the asset forfeiture investigation involving the

defendant, Adelaja Allen Arojuraye (Arojuraye), and thus, am familiar with efforts to locate the

proceeds of the defendant'scriminal conduct. The information contained in this affidavit is based

on information provided to me by other law enforcement agents, and is based on a review of

various documents and records.
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       3.      On April 21, 2017, Arojuraye, pled guilty to a three-count criminal information

charging the defendant with wire fraud, in violation of Title 18, United States Code, Section 1343;

theft ofgovernment money, in violation of Title 18, United States Code, Section 641; and passport

fraud, in violation ofTitle 18, United States Code, Section 1542. The defendant agreed to the entry

of a forfeiture money judgment in the amount of $502,716.00, and the forfeiture of all interests in

any fraud or government theft related asset that is traceable to, derived from, ftmgible with, or a

substitute for property that constitutes the proceeds of the offenses. On June 7,2017, that money

judgment was entered by United States District Judge Claude M. Hilton (Dkt. #10; l:17cr87
(EDVA)).

       4.      In searching for criminal proceeds from the wire fraud and theft of government

money, agents ofthe U.S. Department ofEducation, Office ofInspector General (OIG), Social
Security Administration OIG, U.S. Department of State OIG, and National Science Foundation
OIG conducted an mvestigation into Arojuraye's assets, including assets directly traceable tothe
wire fraud, theft of government money and possible substitute assets.
        5.     Pursuant to paragraph 11(g) of the plea agreement, on April 26, 2017, Arojuraye
provided alist ofall financial and investment accounts and account balances in which he exercised
any control. See the table for a summary dfthe accounts:
 FINANCIAL INSTiTUnON        ACCOUNT HOLDER(S)           ACCOUNT NUMBER           BALANCE


 AMERICAN EXPRESS            ADELAJA AROJURAYE           151-463-1389                 $11,034.15
 BANK OF AMERICA             ADELAJA AROJURAYE           4350-2993-0030                $2,232.49
 BANK OF AMERICA             ADELAJA AROJURAYE           4350-3876-0398                $2,348.50
 BANK OF AMERICA             ADELAJA AROJURAYE           0094-6674-2568                $3,010.47
 BANK OF AMERICA             ALLEN AROJURAYE &           4350-3829-1171                $2,347.43
                             THOMPSON
                             AROJURAYE

 BANK OF AMERICA             ALLEN AROJURAYE &           4350-2991-5770                 $2,864.90
                             JULIANAH AROJURAYE
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BANK OF AMERICA              ADELAJA AROJURAYE            4350-2993-0043                   $500.24
BANK OF AMERICA              ADELAJA AROJURAYE            4350-3876-0408                    $555.56
BANK OF AMERICA              ALLEN AROJURAYE &            4350-3829-1184                    $500.00
                             THOMPSON
                             AROJURAYE
BANK OF AMERICA              ALLEN AROJURAYE &            4350-2991-5796                    $500.00
                             JULIANAH AROJURAYE
BANK OF AMERICA/             ADELAJA AROJURAYE            29Z-43A28                     $49,577.82
MERRILL EDGE
CAPTIAL ONE BANK             ADELAJA AROJURAYE            000018-4326-8043                   $70.63
CAPITAL ONE BANK             ADELAJA AROJURAYE            000083-1650-3048                  $399.60
DISCOVER BANK                ALLEN AROJURAYE &            590-192282-8                      $155.79
                             THOMPSON
                             AROJURAYE
 DISCOVER BANK               ALLEN AROJURAYE &            700-284915-6                      $102.96
                             JULIANAH AROJURAYE
JP MORGAN CHASE              ADELAJA AROJURAYE            000-0007-0825-6185      $2,489.19
JP MORGAN CHASE              ADELAJA AROJURAYE            000-0023-3073-0256        $300.00
                                                                           TOTAU $78,989.73



       6.      The total balance offunds identified by Arojuraye is subject to forfeiture in partial
satisfaction of the money judgement.

       7.      In attempting to trace the criminal proceeds, itappears that the defendant has spent
many of those proceeds during the years of the scheme and has conducted various financial
transactions that have complicated the effort to trace the funds.
       8.      Therefore, based upon my experience and traming, and given that the case agents
have not been able to locate any current assets traceable to the criminal activity, I believe that as a
result of the acts or omissions of Arojuraye the criminal proceeds have been transferred or
deposited with an unidentified third party, have been placed beyond the jurisdiction of this court,
and have been substantially diminished in value, or commingled with other property which cannot
be divided without difficulty.
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       9.     Your affiant requests that the Court issue a seizure warrant allowing law

enforcement agents with the FBI to seize the aforementioned accounts.




                                                           Michelle L. Fedyszen, Special A|fenf
                                                           Federal Bureau of Investigation

Subscribed and sworn to before me on the 15th day of June, 2017, at Alexandria, Virginia.

                                                                            /s/
                                                             Michael S. Nachmanoff    n
                                                             United States Magistrate Judge
                                                           Michael S. Nachmanoff
                                                           United States Magistrate Judge




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